         Case 15-43524-mxm13 Doc 87 Filed 08/21/18
OFFICE OF THE STANDING CHAPTER 13 TRUSTEE
                                                                   Entered 08/21/18 11:21:27        Page 1 of 2
6851 N.E. Loop 820, Suite 300
North Richland Hills, TX 76180-6608
(817) 770-8500
(817) 770-8511 (FAX)
                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

IN RE:                                                     §            CASE NO.: 15-43524-MXM
                                                           §
LINDA ISH, xxx-xx-7186                                                  CHAPTER 13
                                                           §
                                                           §
4724 PINE RIDGE LANE                                                    Pre-Hearing Conference:
FORT WORTH, TX 76123
                                                           §
                                                                        Friday, September 14, 2018 @ 10:00 AM
                                                           §
DEBTOR                                                     §
                                                           §
                                 TRUSTEE'S MODIFICATION OF CHAPTER 13
                                      PLAN AFTER CONFIRMATION
                                          DATE: August 21, 2018

TO THE HONORABLE MARK X MULLIN, U.S. BANKRUPTCY JUDGE:

   Pursuant to 11 U.S.C. §1329, the Standing Chapter 13 Trustee requests the following modification of the
Debtor's original or last modified Chapter 13 Plan:
           1. The SECURED claim of STONE MEADOW HOA (Court Claim No. 5 and Trustee Claim No. 5)
              in the allowed amount of $15,144.49 shall be "PAID DIRECT" by the Debtor.

           2. To the extent the Base Amount exceeds the amount needed to pay all allowed Secured, Priority and
              Administrative Claims in full, such excess shall be paid pro-rata to allowed timely filed
              non-penalty general unsecured claims up to 100%, with any remaining balance refunded to the
              Debtor. The Unsecured Creditors’ Pool will be adjusted accordingly.
           3. All other provisions as set forth in the last confirmed plan remain the same.

                                                               Respectfully submitted,
                                                               By: /s/ Tim Truman
                                                                  Tim Truman, Standing Chapter 13 Trustee
                                                                  State Bar No. 20258000
                                                                  Angela Allen, Staff Attorney
                                                                  State Bar No. 00786970
                                                                  6851 N.E. Loop 820, Suite 300
                                                                  North Richland Hills, TX 76180-6608
                                                                  (817) 770-8500
       Case
  Case No:     15-43524-mxm13
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                                                                                                                2    ISH




                                           CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing “Trustee’s Modification of Chapter 13 Plan After
Confirmation” was served on the parties listed below in the manner listed below on or before August 22, 2018:


FIRST CLASS MAIL:
LINDA ISH, 4724 PINE RIDGE LANE, FORT WORTH, TX 76123
STONE MEADOW HOA, MANNING AND MEYERS, 4340 N CENTRALL EXPWY #200, DALLAS, TX 75206

ELECTRONIC SERVICE:
ALICE BOWER, 6421 CAMP BOWIE BLVD STE 300, FORT WORTH, TX 76116
M SUZANNE FROSSARD PC, 3709 S UNIVERSITY DR, FORT WORTH, TX 76109
MANNING AND MEYERS, 4340 N CENTRAL EXPWY #200, DALLAS, TX 75206
BARRETT DAFFIN FRAPPIER TURNER AND ENGEL LLP, 4004 BELT LINE RD STE 100, ADDISON, TX 75001
LINEBARGER GOGGAN BLAIR & SAMPSON LLP, 2777 N STEMMONS FWY #1000, DALLAS, TX 75207
PERDUE BRANDON FIELDER COLLINS AND MOTT, 500 E BORDER ST #640, ARLINGTON, TX 76010
HENRY ODDO AUSTIN & FLETCHER, 1700 PACIFIC STE 2700, DALLAS, TX 75201
United States Trustee, 1100 COMMERCE STREET, ROOM 976, DALLAS, TX 75242




                                                                  /s/ Tim Truman
                                                                  Tim Truman, Standing Chapter 13 Trustee
